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                          UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                        Norfolk Division



 JESUS MANCILLAS,

                    Plaintiff,

                        V.                                  Crim. No. 2:I9cv429


 EXECUTIVE LANDSCAPE,INC. et ai.

                   Defendant.



                                            ORDER


       The matter before the Court is an Offer of Judgment by Defendants pursuant to Federal

Rule of Civil Procedure 68 that was accepted by Plaintiff. ECF No. 3. Settlements of claims under

the Fair Labor Standards Act ("FLSA"), 29 U.S.C. § 201 e? seq., are subject to Court approval.

For the following reasons, the accepted Offer of Judgment is APPROVED.

       "Lynn's Food instructs the Court to 'determine that a settlement proposed by an employer

and employees, in a suit brought by the employees under the FLSA, is a fair and reasonable

resolution of a bona fide dispute over FLSA provisions.'" Palel v. Barot, 15 F. Supp. 3d 648,654

(E.D. Va. 2014)(quoting Lynn's Food Stores, Inc. v. United States, 679 F.2d 1350, 1355 (11th

Cir. 1982))(alteration omitted). "[I]f the Offer of Judgment provides Plaintiff full relief of[his]

FLSA claims, then further judicial scrutiny is not necessary." Rumreich v. Good Shepherd Day

School, No: 2:17-cv-292-FtM-38MRM, 2018 WL 4760795, at *4(M.D. Fla. July 31, 2018).

       In the Offer of Judgment, Defendants offered $29,830.00. ECF No. 3 at 4. This amount

includes "all attorneys' fees, costs, expert fees, prejudgment interest, unpaid wages, liquidated
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damages, and any other claim or expense to date." Id. It constitutes a "resolution of all counts"

in the Complaint. Id.

        Plaintiff accepted this offer. Id. at 1. Accordingly,"[t]here is no need for judicial scrutiny

where, as here, the defendant represents that it has offered the plaintiff. . . full relief, and the

plaintiff has not disputed that representation." Mackenzie v. Kindred, 276 F. Supp. 2d 1211, 1217

(M.D. Fla. 2003). A "defendant's offer of full relief is obviously reasonable." Id.

       For the reasons stated herein, the accepted Offer ofJudgment(ECF No.3)is APPROVED.

        The Clerk is REQUESTED to send a copy ofthis Order to counsel ofrecord for all parties.

       IT IS SO ORDERED.




                                                                   Aren^i^-right Allen
                                                                 United States District Judge




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Norfolk, Virginia
